
Shauck, J.
The jurisdiction which this motion calls in question depends the effect that is to be given to section six of article *477four of the constitution, as amended in 1883, section 454a of the “ act ’to provide for the organization of circuit courts, and adapt existing legislation thereto,” passed April 4, 1884, and. section five thousand eight hundred and sixty five (5865) of the Revised Statutes prior and subsequent to its repeal and re-enactment February 7,1885. Consideration is also due to section seventy-nine of the Revised Statues, which, it is claimed, operates to prevent the application of the amendment of February 7, 1885, to causes that were then pending in the court of common pleas.
By section six of article four of the constitution it is provided, that “ the circuit courts shall be the successors of the district courts,” and counsel for the appellant argue that as a result of this succession the circuit court became vested with all the jurisdiction which, at the time of the amendment, was vested in the district court. The general grant of jurisdiction is found in the first clause of the section. It provides that “ the circuit court shall have like original jurisdiction with the supreme court, and such appellate jurisdiction as may be provided by law.” The circuit court is alone in contemplation here, and the phrase “ as may be provided by law ” is prospective in its operation. The circuit court was not then in existence, and no jurisdiction had therefore been conferred upon' it by law. Without violence to the language employed, this clause cannot be construed as granting to the circuit court the appellate jurisdiction which had theretofore been conferred by law upon the district court. The consequences which are to result from the provision that the circuit courts shall be the successors of the district courts, are defined in the same clause. They are, that “all cases, judgments, records and proceedings pending in said district courts, in the several counties of any district, shall de transferred to the circuit courts in the several counties, and be proceeded in as though said district courts had not been abolished.”
We do not question the soundness of the doctrine urged by counsel that all such legislative enactments survive an amendment to the constitution as are consistent with the constitutional provisions as amended ; but it affords no aid in the solution of this question, since at-'thé time of this amendment *478there was no legislative enactment which conferred appellate jurisdiction upon the circuit court.
Gunclcel &amp; Rowe, and D. A. Haynes, for the motion.

Young &amp; Young, contra.

In support of the appeal it is further insisted, that jurisdiction to entertain it was conferred upon this court by section 454e of the act “ to provide for the organizatiou of circuit courts, and adapt existing legislation thereto,” passed April 14,1884. Admitting, for our present purposes, that this section, while in force, had the effect claimed for it by counsel; it was repealed by the act of February 7, 1885, which took effect upon its passage, while the circuit court, by the terms of the amended section of the constitution, did not come into existence until the qualification of the judges two days later. The act of February 7, also repealed section five thousand' eight hundred and sixty-five of the Revised Statutes, which authorized appeals to the district court in cases of this character. The repeals thus made left in force no statute conferring the right to appeal to any court from the judgment of the court of common pleas- When the circuit court came into existence on the 9th day of February, the only statutory provision relating to this subject expressly denied the right which is here asserted. Section five thousand eight hundred and sixty-five of the Revised Statutes, as re-enacted February 7, 1885, provides that “ no appeal can be taken from the judgment of the common pleas court to the circuit court in cases to contest a will.” The appellate jurisdiction for which the plaintiff contends, has never been provided by law. It has been expressly inhibited. As to cases of this character that were pending in the court of common pleas February 7, 1885, section seventy-nine could have no further effect than to save the right to appeal to the district court, which continued in existence for two days thereafter.
Motion sustained.
